 

 

Case 5:19-cv-02113-JGB-KK Document 2 Filed 11/04/19 Page 1of5 Page ID #:59

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

UNITED STATES DISTRICT COURT

for the

   

CLERK, Ug FLED

DISTRICT Cour:

      
 

 
 

   
  

 
 
   

 

 

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Central District of California A 4 aug. i
Joanne Gillies — ol ) EASTERN DVS CALIFORNIA
Plaintiff/Petitioner ) BY DEPUTY i

¥v Civil Action No.

)
Anthony Kandare -
Defendant/Respondent ED CV 1 9 xs 0 2 1 1 3 \G a

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Long Form)

 

 

 

Affidavit in Support of the Application Instructions

defendant or respondent
lam a pleintifFerpetitiener-in this case and declare Complete all questions in this application and then sign it.
that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”
and that 1 am entitled to the relief requested. I declare “none,” or “not applicable (N/A),” write that response. If
under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may result in answer, attach a separate sheet of paper identified with your
a dismissal of my claims. name, your case's docket number, and the question number.

Signed: VA UV lhe Date: 10/29/2019

 

 

 

1. For both you and your spouse estimate the average amount of money received from each of the following ~
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

 

 

 

 

 

 

 

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months

You Spouse You Spouse
Employment $ 0.00 |¢ $ 0.00 |$
Self-employment $ 3,000.00 {$ $ 3,000.00 |$
Income from real property (such as rental income) $ 0.00 |$ $ 0.00 |$
Interest and dividends § 0.00 |$ $ 0.00 |$
Gifs $ 0.00 |$ $ 0.00 |$
Alimony $ 0.00 |$ $ 0,00 |§
Child support $ 0.00 I$ $ 0.00 {$

 

 

 

 

 

 
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Retirement (uch as social security, pensions, annuities,
insurance) $ 0.00 |$ $ 0.00 |$
Disability (such as social security, insurance payments) $ 0.00 |$ $ 0.00 I$
Unemployment payments
PS $ 0.008 § 0.00 |$
Public-assistance (such as welfare) § 0.00 | § 0.00 |s
Other (specify):
(specif) $ 0.00 |$ $ 0.00 |$
Total monthly income: $ 3,000.00 |$ 0.00|$ 3,000.00 |$ 0.00
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
self-employed 1643 Shadyside Dr., Edgewater, MD ‘| 02/01/2016 to present $ 3,000.00
$
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
nla $
$
$
4. How much cash do you and your spouse have? $ 0.20
Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution Type of account Amount you have Amount your
spouse has
BankMobile Checking $ 0.20 |$
$ $
$ $

 

 

 

 

 

 

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
 

 

 

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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.

Assets owned by you or your spouse
Home (Value) $ 0.00
Other real estate (Value)

$ 0.00
Motor vehicle #/ (Value) $ 1,800.00
Make and year: Dodge 2002 :

 

Model: Grand Caravan

 

 

Registration #:

 

Motor vehicle #2 (Value)

 

Make and year:

 

Model:

 

Registration #:

 

 

Other assets (Value)

$ 0.00

 

Other assets (Value)

$ 0.00

 

 

6. State every person, business, or organization owing you or your spouse money, and the amount owed.

 

Person owing you or your spouse Amount owed to you
money

Amount owed to your spouse

 

None $ $

 

 

 

 

 

 

7. State the persons who rely on you or your spouse for support.

 

Name (or, if under 18, initials only) Relationship

Age

 

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12

 

 

 

 

 

 
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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the

monthly rate.

 

 

 

 

 

 

 

 

 

 

You Your spouse
Rent or home-mortgage payment (including Ipt rented for mobile home)
Are real estate taxes included? Yes O No 2,250.00
Is property insurance included? mM Yes [No
Utilities (electricity, heating fuel, water, sewer, and telephone) 200.00
Home maintenance (repairs and upkeep) 20.00
Food 300.00
Clothing 50.00
Laundry and dry-cleaning 20.00
Medical and dental expenses 50.00
Transportation (not including motor vehicle payments) 100.00
10.00

Recreation, entertainment, newspapers, magazines, etc.

 

Insurance (not deducted from wages or included in mortgage payments)
Homeowner's or renter's:
Life:
Health:
Motor vehicle:

Other:

 

 

 

 

 

 

Taxes (not deducted from wages or included in mortgage payments) (specify):

 

Installment payments
Motor vehicle:
Credit card (name):
Department store (name):

Other:

 

 

 

 

 

 

 

 

Alimony, maintenance, and support paid to others

 

 

 

 

 
 

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Regular expenses for operation of business, profession, or farm (attach detailed $
statement) $
Other Gpecify): $ $
Total monthly expenses: $ 3,000.00 |$ 0.00

9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the

next 12 months?

CYes & No If yes, describe on an attached sheet.
10. Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this

lawsuit? ( Yes No

Ifyes, how much? $0

ll. Provide any other information that will help explain why you cannot pay the costs of these proceedings.
i have been performing contract legal support work for various law firms on a project-by-project basis
(primarily remote) within limitations of raising children for many years, which is less of a constraint recently... |
am currently seeking full-time employment with law firms and entities including the federal government, which
will hopefuily materialize this year. However, it has been much more difficult to obtain than anticipated.

12. Identify the city and state of your legal residence.
Edgewater, MD

Your daytime phone number: ___ (443) 822-3759

Yourage: 54 — Your years of schooling: 7
